                In the
           Court of Appeals
   Second Appellate District of Texas
            at Fort Worth
        ___________________________
             No. 02-23-00494-CV
        ___________________________

        VIRGINIA MORMAN, Appellant

                       V.

BISHOP ENERGY D/B/A ENDERBY GAS, Appellee



     On Appeal from the 235th District Court
             Cooke County, Texas
         Trial Court No. CV23-00198


    Before Sudderth, C.J.; Kerr and Walker, JJ.
  Memorandum Opinion by Chief Justice Sudderth
                           MEMORANDUM OPINION

                                   I. Introduction

      “No-answer” default judgments are disfavored under Texas law, and they have

been for a long time. See In re Lakeside Resort JV, LLC, 689 S.W.3d 916, 920 (Tex.

2024) (orig. proceeding); Craddock v. Sunshine Bus Lines, Inc., 133 S.W.2d 124, 126 (Tex.

[Comm’n Op.] 1939); see also Primate Constr., Inc. v. Silver, 884 S.W.2d 151, 152 (Tex.

1994) (“For well over a century, this court has required that strict compliance with the

rules for service of citation affirmatively appear on the record in order for a default

judgment to withstand direct attack.”). As the supreme court recently explained,

      Default judgments differ from every other kind in a fundamental way:
      the losing party is wholly absent. Other types of orders and judgments
      result from litigation in which both sides are present, contribute to the
      creation of a record, and engage in the adversarial clash that refines their
      arguments and identifies their opponent’s errors and weaknesses. This
      clash likewise allows both sides to alert the court to perceived judicial
      errors. In theory, this collision of evidence and ideas increases the
      likelihood that accurate and truthful results will emerge from the judicial
      process. Correspondingly, courts have multiple causes for concern when
      only one side is present. Courts should worry about the inherent
      unfairness to the missing party, of course, but also about the threat to
      judicial integrity and independence that comes from the heightened risk
      of pronouncing and then enforcing erroneous judgments, backed by the
      coercive power of the State.

             ....

            Our law thus greatly disfavors but cannot wholly disavow default
      judgments. They are tolerable only because the absent party could have
      appeared but chose not to do so. . . .

             The problem, of course, is that an absent defendant often has not
      actually chosen to abandon its right to defend itself. For one reason or

                                           2
      another, sometimes justifiable and other times negligent or worse, a
      defendant may be unaware of pending litigation even when a plaintiff’s
      efforts to provide notice technically comply with (or even exceed) what
      the law requires.

Lakeside Resort JV, LLC, 689 S.W.3d at 920–21. Any doubts about a default judgment

must be resolved against the party who secured the default. Id. at 922. Because the

record in the appeal before us reflects such doubts, we reverse the trial court’s

judgment.

                                  II. Background

      Appellee Bishop Energy d/b/a Enderby Gas sued 85-year-old Appellant

Virginia Morman,1 individually, along with M Propane, LLC and Virginia’s grandson,

Zachary Aaron Morman, individually, for $281,330.08 based on an unpaid invoice.

A. Motion for substituted service

      Bishop Energy filed a motion for substituted service in which its process

server, Joseph Reeves, listed his unsuccessful attempts on June 23, 2023, to serve M

Propane and Virginia.

      Reeves recounted that, on that day, at 1:18 p.m., he stopped at a home with

“Mormans” on the mailbox and spoke with an adult female, who confirmed that she

was Zachary’s spouse and that Virginia lived “up the road.” At 1:25 p.m., Reeves

spoke in the front yard of Virginia’s home with “an elderly adult male wearing hearing


      This case involves references to and testimony by people with the same last
      1

name. We will refer to these individuals by their first names to avoid confusion.


                                          3
aids in both ears,” identified later as Virginia’s husband, Charles. Charles confirmed

that Virginia lived there, but he did not allow Reeves to speak with her. Reeves

stated,

          [Charles] informed me that she denies having anything to do with the
          subject propane business, and stated she will not meet with me, speak to
          me, or accept the papers addressed to her. He was polite and respectful
          during our conversation, but adamant that I would have no contact with
          defendant Virginia Morman.

          At 2:05 p.m., Reeves saw Charles drop off trash in the large commercial

dumpster at the rear of M Propane’s business address and noted, “Door hanger with

my contact information attached to the business main entrance glass door with tape.”

          At 3:30 p.m., Reeves noticed that his door hanger was no longer on the front

door and that the overhead side bay door was open with a Jeep Wrangler inside that

was registered to Zachary. He spoke with a young adult male, who let him in but who

did not match Zachary’s appearance from social media photos and who denied being

Zachary.      The young man informed Reeves that he had sent the door hanger

information to Zachary.

          The trial court granted Bishop Energy’s motion, allowing the citation, with the

petition and the substituted-service order attached, to be served by affixing it to the

“most prominent door/gate” of Virginia’s home address or M Propane’s business

address. Reeves chose the latter option.




                                             4
B. No-answer default judgment and motion for new trial

      On September 19, 2023, the trial court heard Bishop Energy’s motion for

default judgment and granted it after the presentation of evidence on the unpaid

invoice and its attorney’s fees. The default judgment—against all defendants, jointly

and severally—awarded to Bishop Energy its requested $281,330.08, as well as $5,000

in attorney’s fees, $780.79 in costs, and conditional attorney’s fees for subsequent

proceedings.

      Two weeks later, Virginia filed a motion for new trial. In her motion, Virginia

asserted that she did not frequent M Propane’s address, had “practically no contact

with M Propane or any of its operations,” and had no regular contact with Zachary.

She stated that she was in her eighties, that she had “very little experience with legal

matters,” and that “[w]hen she finally received the citation and attachments, she did

not know what they were” and did not understand their meaning. Virginia stated that

she “never realized that she needed to file an answer to this lawsuit, and she never

knew about the setting of the hearing on the default judgment.”

      As a meritorious defense, Virginia further stated that she and Charles had

transferred full ownership and operation of M Propane in 2012 or 2013 to their son,

Charles Lance Morman,2 now deceased, and that Lance had left M Propane’s

ownership to Zachary in his estate. Virginia asserted that her failure to answer the

      2
       Because Charles Lance Morman shares his father’s first name, we will refer to
him as Lance to avoid confusion.


                                           5
lawsuit or to appear in court “was due to her age and lack of understanding of legal

process” and not the result of negligence, conscious indifference, or disregard of the

need to respond. She further asserted that setting aside the default judgment would

not work a hardship or prejudice on any party.

          Virginia supported her motion with an unsworn declaration in which she

stated,

          It was never my intention to ignore the lawsuit or the requirements for
          responding to it and appearing in Court. I did not understand that a
          lawsuit had been filed. The lawsuit papers were not delivered to my
          home address. Instead, it is my understanding that they were delivered
          to the business address of the company. This is an address to which I
          would not have been going on any regular basis. Thus, I did not
          understand that I could be subject to the lawsuit until a copy of the final
          judgment was delivered to me on or about September 20th or 21st,
          2023. After reviewing that with family members, including my husband,
          my daughter, and my son-in-law, we reached out to an attorney with
          whom my daughter and son-in-law were familiar . . . . Only then did I
          begin to understand what had happened.

C. Hearing on Virginia’s motion for new trial

          On December 1, 2023, the trial court heard Virginia’s motion. Charles testified

that he knew nothing about the lawsuit before receiving the letter that stated they

were being sued for over $300,000 and that it “blowed [his] mind when he got it.” He

stated that he usually opened their mail and then Virginia would read it. Charles could

not recall when they received the letter.

          Charles recalled Reeves’s visit to their home but did not recall the process

server’s name. He stated that Reeves had brought a notebook computer for Virginia


                                              6
to sign and did not have any papers with him. Charles testified that he told Reeves

that Virginia would not sign it, adding, “The guy was nice. He wasn’t abusive, or

anything like that. But I didn’t know what it was, I’m not going to sign anybody’s

paper like that -- come up -- I didn’t know what it was.” Charles explained that it was

normally his and Virginia’s practice not to sign anything that they did not understand.

He stated that he told Reeves that “she wasn’t going to sign it, we wasn’t going to sign

nothing.”

       Charles further testified that, since 2014, he and Virginia had had nothing to do

with M Propane and that, in 2021, after Lance died, Lance’s son Zachary took over

the business.

       On cross-examination, Charles testified that Zachary lived down the road from

him and Virginia. He agreed that he had told Reeves that Virginia had nothing to do

with the business and that she had been home when he spoke with Reeves, and

although he initially did not recall telling Reeves that she would not speak with him,

he stated, “I guess so,” when asked, “[Y]ou told [Reeves] that your wife Virginia[]

would not meet with him or speak with him; is that true?” Charles did not recall

telling Reeves that Virginia would not accept any papers addressed to her. When

asked, he agreed that later that day he “may have went down [to M Propane’s business

location] to dump trash” in the garbage dumpster.

       On redirect, Charles stated that when he went down to M Propane’s business

location, “[a] lot of times [he] get[s] out and walk[s] around down there a little bit . . .

                                             7
[and] talk[s] to the boys from time to time,” but on that day, to the extent he recalled,

he just went to dump trash. The trial court asked Charles how far the business

address was from his and Virginia’s home, and Charles replied, “probably about three

miles.”

      Virginia, who was 86 years old at the time of the hearing, testified that she did

not know when she first learned that she had been sued, stating, “I’ll be honest with

you, I don’t know. It seemed like it was . . . a couple months ago, I don’t know. I’ll

be honest with you, I don’t.” She stated that she thought her first knowledge of the

lawsuit occurred when she received the clerk’s letter in the mail about the trial court’s

judgment, “maybe in September.” Virginia stated that when she received it, she

“called [her] daughter immediately[,] so she might -- could tell you.”

      Virginia stated that after she and Charles retired and turned the business over

to Lance, Lance continued to operate the business from the same location, but she no

longer had a reason to go there. Since 2014, she had been there only once to deliver

some food to their grandson who was working in the office. Virginia stated that if

someone had left papers giving notice of the lawsuit at that location, she would not

have received them.

      Virginia testified that Lance and Zachary worked in the business until Lance

died and that she did not have much contact with Zachary. As to Zachary, Virginia

stated, “I saw him one time in June when they come over to swim. And he was there

two or three hours, and I haven’t seen him -- I haven’t talked to him since then.”

                                           8
Virginia stated that Zachary had drug problems, which were unacceptable to her and

Charles, so they would not have had any occasion to talk to him about the lawsuit or

any money owed to Bishop Energy. Virginia further stated, “[W]hen we worked

there, I paid [Bishop Energy] every time on time. I was never late with a payment, as

far as I recall.” Zachary’s 18-year-old son—Virginia’s great grandson—worked in the

business with Zachary, but she did not see him much.

      Virginia gave the following testimony about Reeves’s visit on June 23, 2023:

           Q. Okay. And did -- when did your husband – did you see the
      man out in the yard?

             A. No, sir, I was in the kitchen. No, sir.

             Q. Okay. Did you talk to your husband about it before the man
      arrived, did you talk to him about a lawsuit?

             A. No, sir.

             Q. When your husband came in, did he tell you that a man had --
      he talked to a man, and the man was trying to serve you with something?

            A. I don’t think so. I don’t recall, I really don’t. I don’t think I
      even mentioned it to him, I mean --

             Q. Well, did he mention it to you is the question?

            A. Oh. I don’t remember. I’ll be honest with you, I -- honest to
      God, I don’t remember if he did or not.

                    THE COURT: Excuse me. Did your – your grandson’s
             wife, he had talked to her first. Did she call you on the phone and
             say there’s somebody coming up to the house with some papers?
             Did she call you --



                                           9
            THE WITNESS: No, ma’am, huh-uh. No, ma’am. Now,
      are you saying the grandson’s wife?

            THE COURT: The lady that he talked to first, who told
      him where you lived, did she call you and say there’s somebody
      on the way up to the house?

             THE WITNESS: No, ma’am.

             THE COURT: You never talked to her that day at all?

             THE WITNESS: No, huh-uh. I don’t know who you’re
      talking about. I think you’re talking about Zach’s wife.

             THE COURT: Yes, Zach’s wife.

              THE WITNESS: No, ma’am, I haven’t talked to her about
      that -- any of that.

             THE COURT: Never before?

             THE WITNESS: Never.

             THE COURT: Never since?

             THE WITNESS: No. No, ma’am.

             THE COURT: Go ahead.

       Q. . . . Did -- did your grandson Zachary or his wife or anyone
else call you or let you know that there was a man trying to serve papers
on you --

      A. No, sir.

      Q. -- or the company?

      A. No, sir.




                                   10
Virginia stated that Charles might have told her about Reeves’s coming to the house

but that she did not recall.

       Virginia and Charles’s daughter Ginger McDaniel testified that she lived and

worked not far from their home. She helped her parents with their questions about

bills because both Charles and Virginia got things confused, Virginia “ha[d] some

dementia,” and Charles “c[ould]n’t hear a whole lot.”

       Ginger further testified that Virginia had called her when Reeves came to their

house, stating,

       Mom called me when the server showed up, and I’m assuming that it
       was a server. Mom called me and said that there was -- that Dad had
       said something, that there was some guy out there with some computer
       wanting her to sign something. And I said, what’s it concerning? And
       she said, I have no idea.

               I asked -- I went by the house that afternoon. I said, Dad, you
       know, Mom said -- and Dad’s like, I don’t know what the dude wanted,
       he said, but we’re not signing nothing. He said, I don’t know who he is,
       I’ve never seen him before. I said, well, what was this concerning? He
       said, I don’t know what it was concerning.

Ginger opined that Charles might not have picked up everything the process server

said because he did not hear very well. She had warned her parents not to sign

anything they did not understand and to call her with any questions.

       Ginger testified that she had known nothing about the lawsuit until Virginia

called her at work “all upset that they’d gotten a letter in the mail, a judgment letter,”




                                           11
which she first said she thought had been “sometime in June,”3 but she then corrected

her testimony to say “September, maybe around the 25th.” Virginia had told her that

“they had got a letter in, and it said something about $300,000, and it had her name

on it, and had Zachary[’s] . . . name on it.” Ginger stated that neither of her parents

had understood the judgment letter, how serious it was, or “the fines and the accruing

interest and everything that went along with it.” Ginger told her parents that they

needed to get a lawyer.

      At the hearing’s conclusion, the trial court took judicial notice of its file and

heard the parties’ arguments. Virginia’s counsel argued, among other things, that an

excusable mistake had occurred because Bishop Energy’s process server had posted

the citation where Virginia, who suffered from dementia, was unlikely to find it.

      Regarding hardship or prejudice, Virginia’s counsel argued that granting her a

new trial would cause no harm to Bishop Energy because Bishop Energy would retain

its judgment against Zachary. He asserted that if the trial court granted the motion,

Virginia planned to file a crossclaim against Zachary and to cooperate with Bishop

Energy in trying to get control of what was left of M Propane’s assets so that Bishop



      3
       At the conclusion of Ginger’s testimony, the trial court asked her about what
she had been aware of in June. Ginger replied that they lived in a small town and that
her 72-year-old uncle—Virginia’s brother, who ran a competing propane business—
told her that he had heard rumors that M Propane was in trouble and owed a large bill
that was not being paid. She learned about this in June but did not recall telling her
parents “because they’re older, and they get upset about things.”


                                          12
Energy could get paid. Virginia’s counsel also pointed out that Bishop Energy had

filed a claim in probate court against Lance’s estate.

      Bishop Energy’s counsel responded that Bishop Energy had gone to great

lengths to serve Virginia, who, according to him, had avoided and evaded service with

Charles’s assistance, stating, “We know that [Charles] knew what the man was there

for . . . because the process server says that [Charles] told him that [Virginia] denies

having anything to do with the propane business,” and then Charles “refused to allow

her" to speak with him or to accept the papers addressed to her. Bishop Energy’s

counsel confirmed that Bishop Energy had filed a claim against Lance’s estate and

that it would try to recover from the estate first, “but that doesn’t negate the fact that

they refused to accept service.” [Emphasis added.]

      The trial court opined that based on the evidence and a reasonable deduction

from the evidence, “they knew exactly . . . why the process server was there, and they

just thought that they could stonewall it, ignore it.” [Emphases added.] The trial court

denied Virginia’s motion.

                                    III. Discussion

      In her single issue, Virginia argues that the trial court abused its discretion by

denying her motion for new trial. Bishop Energy responds that Virginia conceded in

her motion that she had received the citation and its attachments4 and that the trial


      4
       In her motion, Virginia stated that “[w]hen she finally received the citation and
attachments, she did not know what they were. She did not understand their

                                            13
court could have reasonably found—based on Virginia’s testimony at the hearing—

that she and Charles had known why the process server was at their home but had

decided to ignore the lawsuit.

      “Texas courts view an appeal from a default judgment somewhat differently

than an appeal from a trial on the merits. In part, this is because an adjudication on

the merits is preferred in Texas.” Holt Atherton Indus., Inc. v. Heine, 835 S.W.2d 80, 86

(Tex. 1992). A new trial should be granted when a defaulting party establishes that (1)

the failure to appear was not intentional or the result of conscious indifference but

was the result of an accident or mistake, (2) the motion for new trial sets up a

meritorious defense, and (3) granting the motion will occasion no delay or otherwise

injure the plaintiff. Dolgencorp of Tex., Inc. v. Lerma, 288 S.W.3d 922, 925 (Tex. 2009)

(citing Craddock, 133 S.W.3d at 126).

      Accident, mistake, or other reasonable explanation negates the intent or

conscious indifference for which reinstatement can be denied. Id. (citing Smith v.

Babcock &amp; Wilcox Constr., Co., 913 S.W.2d 467, 468 (Tex. 1995)); see Fid. &amp; Guar. Ins.

Co. v. Drewery Constr. Co., 186 S.W.3d 571, 576 (Tex. 2006) (stating that intentional or

conscious indifference occurs when “the defendant knew it was sued but did not

care”). Under Craddock’s first element, some excuse—although not necessarily a good


meaning.” But at the new-trial hearing, Virginia testified that she did not recall when
she had first learned that she had been sued and that she did not recall if Charles had
told her about the process server.


                                           14
one—will suffice to show that a defendant’s failure to file an answer was not because

the defendant did not care. In re Marriage of Sandoval, 619 S.W.3d 716, 721 (Tex. 2021)

(quoting Sutherland v. Spencer, 376 S.W.3d 752, 755 (Tex. 2012)).

       “When applying the Craddock test, the trial court looks to the knowledge and

acts of the defendant as contained in the record before the court.” Holt Atherton Indus.,

Inc., 835 S.W.2d at 82 (emphasis added). A defendant’s burden on this element is

satisfied when her factual assertions, if true, negate intentional or consciously

indifferent conduct by her and the factual assertions are not controverted by the

plaintiff. B. Gregg Price, P.C. v. Series 1 - Virage Master LP, 661 S.W.3d 419, 424 (Tex.

2023). However, “[w]hen the defaulting party fails to appear due to a lack of proper

notice, the subsequent judgment is constitutionally infirm.” Id. In that situation,

Craddock’s meritorious-defense element is not required. Id.; see Fid. &amp; Guar. Ins. Co.,

186 S.W.3d at 574 (stating that a default judgment’s critical question is, “Why did the

defendant not appear?” and that if the answer is “Because I didn’t get the suit

papers,” then the default generally must be set aside, but if the answer is “I got the

suit papers but then . . . ,” the default judgment should be set aside only if the

defendant proves all three Craddock elements).

       We review the denial of a motion for new trial for an abuse of discretion. B.

Gregg Price, P.C., 661 S.W.3d at 423. A trial court abuses its discretion if it acts without

reference to any guiding rules or principles—that is, if its act is arbitrary or

unreasonable. Low v. Henry, 221 S.W.3d 609, 614 (Tex. 2007); Cire v. Cummings, 134

                                            15
S.W.3d 835, 838–39 (Tex. 2004). A trial court also abuses its discretion by ruling

without supporting evidence. Ford Motor Co. v. Garcia, 363 S.W.3d 573, 578 (Tex.

2012). But no abuse of discretion occurs when the trial court decides based on

conflicting evidence, so long as some substantive and probative evidence supports its

decision. Unifund CCR Partners v. Villa, 299 S.W.3d 92, 97 (Tex. 2009); Butnaru v. Ford

Motor Co., 84 S.W.3d 198, 211 (Tex. 2002) (op. on reh’g).

      The trial court determines the fact questions raised when, as here, evidence is

presented at a new-trial hearing. See La. C Store Wholesaler, Inc. v. Royal Nett Apparel,

LLC, No. 02-17-00331-CV, 2018 WL 3059966, at *3 (Tex. App.—Fort Worth June

21, 2018, no pet.) (mem. op.). The trial court, as factfinder, may generally believe all,

none, or part of the evidence and thus can reasonably believe, based on contradictory

evidence, that a defendant behaved intentionally or with conscious indifference. Id.
      But here, nothing in the record before us supports that finding or the trial

court’s observation that both Charles and Virginia knew why the process server was at

their house and “just thought that they could stonewall it, ignore it.” [Emphasis

added.] To the contrary, the record reflects that there is no evidence that Virginia

knew that Bishop Energy (via Reeves) was trying to serve her and that—at most,

perhaps—her husband Charles might have known.5 Charles was not sued, and it is


      5
        However, the record does not show that the process server ever told Charles
that he was trying to serve process on Virginia, either by word or by showing him the
documents in his possession. As far as the record indicates, Charles could have
thought Reeves was representing a creditor of the propane business for debt

                                           16
the knowledge and acts of Virginia, an elderly lady in her late eighties with dementia,

that matter for purposes of our review. See Holt Atherton Indus., Inc., 835 S.W.2d at 82.

      Further, while Virginia’s new-trial motion conceded that she “finally received”

the citation and attachments, the motion did not establish when she received them and

therefore was not the concession that Bishop Energy touted it to be. Nothing in the

record connected Virginia in June 2023 or thereafter—as opposed to her husband—

to the business premises where the citation and service documents were posted. And

both Virginia’s declaration and her testimony reflect that she had not understood that

she could be subject to the lawsuit until she received a copy of the final judgment,

called her daughter for assistance, and then hired a lawyer on her daughter’s advice.

      Without notice, Virginia could not have intentionally or with conscious

indifference failed to appear or otherwise to participate in the trial, and Bishop Energy

did not bring forth any controverting evidence that Virginia knew about or

understood the lawsuit against her or that she did not have dementia. See B. Gregg

Price, P.C., 661 S.W.3d at 424 (stating that the defendant’s burden on the first element




collection, not attempting to serve process for one. See United Rentals N. Am., Inc. v.
Evans, 668 S.W.3d 627, 642 (Tex. 2023) (stating that testimony that gives rise to any
number of inferences, none more probable than another, “is legally insufficient to
support the inference of a fact”).


                                           17
is satisfied when her facts negate intentional or consciously indifferent conduct, and

the plaintiff does not controvert those facts).6

       Based on the record before us, as well as the historic public policy that

disfavors default judgments, we conclude that the trial court abused its discretion by

failing to grant Virginia’s new-trial motion, and we sustain Virginia’s sole issue.

                                    IV. Conclusion

       Having sustained Virginia’s sole issue, we reverse the trial court’s judgment and

remand the case for a new trial.

                                                        /s/ Bonnie Sudderth

                                                        Bonnie Sudderth
                                                        Chief Justice
Delivered: August 22, 2024




       Further, in her new-trial motion, Virginia asserted that setting aside the default
       6

judgment would not work a hardship or prejudice on any party, and Bishop Energy
presented no evidence at the hearing that setting aside the default judgment would
work a hardship on it or prejudice it.


                                            18
